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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                                Case No. 11-40044-11-RDR

ARNULFO PRADO-CERVANTEZ,

                 Defendant.


                                O R D E R

     Defendant is charged with conspiracy to distribute 500 grams

or more of methamphetamine. There are currently fifteen defendants

in this case. Defendant is in custody pending trial. Defendant is

Spanish-speaking and has used an interpreter during court hearings.

The court has received documents signed by defendant which are

written in English and appear to have been prepared by someone in

defendant’s holding facility.       The court reaches this conclusion

not only because the documents are written in English, but also

because the same or similar documents (in what appears to be the

same handwriting) have been received by the court from another

Spanish-speaking defendant in this case, Agustin Ramirez-Villa.

The court has returned many of these documents to defendant and

Ramirez-Villa and directed them that they have court-appointed

counsel to bring motions and pleadings before the court. Doc. Nos.

130, 133, 136, and 139.       This action by the court appears to have

motivated, at least in part, each defendant to ask for self-
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representation.

     The court has received a letter from defendant to his attorney

which indicates that defendant “has decided to proceed alone” and

is terminating his appointed counsel’s services.              Doc. No. 162.

The letter accuses counsel of actions which are for the benefit of

the court and the prosecutor, and to the detriment of defendant.

Specifically, the letter complains that defense counsel asked for

a continuance of the deadline to file pretrial motions and that

counsel has not challenged the jurisdiction of the court.                   The

court has decided to treat the document as a motion for self-

representation.     The court conducted a hearing upon the motion on

September 30, 2011.     This order shall be the court’s ruling upon

defendant’s motion for self-representation.

     During   the   hearing,   the   court   asked    defendant’s      court-

appointed counsel to address the court.        Defendant’s counsel told

the court that he was not able to communicate effectively with

defendant or to represent defendant effectively.

     The court asked the interpreter during the court hearing to

translate the following statement to defendant:

          - - You should understand that the charge you are
     facing in this case has a maximum penalty of life in
     prison and a mandatory minimum sentence of 10 years which
     would apply unless you qualify for certain exceptions to
     the mandatory minimum sentence which generally require,
     among other things, that you plead guilty. The mandatory
     minimum sentence could be 20 years, but the court is not
     aware at this time of facts which would cause a 20-year
     mandatory minimum sentence to be applicable.


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     - - The ultimate sentence in this case, if you are
convicted, may depend upon numerous factors including:
your criminal history, acceptance of responsibility,
obstruction of justice, leadership role in the offense,
cooperation with the government and numerous other issues
under the Sentencing Guidelines.       If you represent
yourself, you will be responsible for making arguments
under the Sentencing Guidelines.        There are also
sentencing factors which the court must consider under
Title 18 United States Code § 3553. If you represent
yourself, you will be responsible for making arguments
under this statute.

     - - If you represent yourself and you decide to go
to trial, you will be required to follow the Federal
Rules of Criminal Procedure and the Federal Rules of
Evidence. You will be responsible for picking the jury
through the process of voir dire and for giving opening
and closing statements. You will be required to do your
own direct and cross-examination of witnesses. You will
have to evaluate the possible defenses to the crime
charged -- e.g., lack of intent or knowledge; lack of
participation; entrapment; lack of agreement as to a
criminal purpose; and others -- to determine what
defenses to present to the jury.

     - - There is a very large amount of information in
this case which will be difficult for any person to
process, much less a person of limited education who is
incarcerated pending trial.

     - - You will be required to file your own pretrial
motions and to contact and prepare to present any
witnesses you might want to call at trial.

     - - Because you are incarcerated you will have
limited access to legal materials.

     - - It is apparent to the court that you and another
defendant in this case have received advice (I assume
from someone in your holding facility) that you should
challenge the court’s jurisdiction to hear this case. I
have already rejected this challenge in one order and
indicated that other motions you have attempted to file
without the aid of counsel do not make persuasive
arguments to the court. I have no reason to believe that
my rulings on these matters will change and they cannot
be appealed to another court until you have received a

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     trial and (if you are found guilty) been sentenced.

          - - This is a complex case with many defendants. If
     there is a trial, it will most likely occur some time
     next year when all of the parties who wish to go to trial
     are prepared to do so. There is no reason to believe at
     this time that your case will go to trial sooner than
     that of any other defendant in your case or that you will
     be released pending trial.

          - - If you are unable to effectively communicate
     with your current attorney, the court is willing to
     appoint a different attorney to represent you.        Any
     attorney appointed to represent you must respect your
     desire to go to trial if you believe that you want to go
     to trial. However, you should realize that any attorney
     is obliged to give you his or her best advice and that no
     attorney is obligated to file motions which he or she
     believes are legally frivolous.

          - - As I have said, this is a complex case with
     serious consequences. The court strongly believes that
     representation by an attorney is far better under most
     circumstances for a defendant than self-representation.

     The interpreter told that court that she translated this

statement word for word for defendant.         Defendant told the court

that he understood the court’s statement.           He indicated that he

might have questions, but he did not pose any specific questions to

the court.   The court told defendant that it would be difficult to

share the great amount of discovery in this case with defendant

since he was incarcerated, and that there would be discovery which

he could not take with him into his holding facility.            In the end,

defendant told the court that he preferred to work alone.

     The court has decided to grant defendant’s motion for self-

representation.     The court finds that defendant is competent to

make this decision. Defendant had the assistance of an interpreter

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and his comments to the court indicated that he clearly understood

the nature of the proceedings and the decisions being made.                     The

court further finds that defendant made the decision to represent

himself voluntarily after the court informed defendant of the

dangers and disadvantages of appearing pro se.                   To repeat, the

court believes defendant made a knowing and voluntary election to

represent himself, understanding the significance and consequences

of his decision.      The court has offered to appoint new counsel for

defendant, but defendant told the court he wanted to represent

himself.

       The court shall appoint new counsel to be involved in this

case   as   standby   counsel    to   give   advice   to   defendant      in    the

courtroom if defendant seeks such advice and to be prepared to

represent defendant should defendant take actions which waive or

forfeit his right to self-representation.              In addition, standby

counsel may be requested to facilitate the sharing of discovery

with defendant.       Standby counsel should contact the court when

defendant seeks to review discovery and the court will attempt to

work out a process for this to happen. Standby counsel should also

be prepared to arrange for interpreters to interpret or translate

documents when necessary for defendant.                Counsel should seek

permission first from the court before doing so.                 Standby counsel

should review this order with defendant and, if necessary, help

explain the order to defendant.            Finally, standby counsel should


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meet with defendant (with the aid of an interpreter) and inform

defendant that if he has any questions or concerns regarding the

decision to represent himself or the cautionary advice the court

gave defendant during the hearing upon that decision, then he

should raise those questions with the court either through a letter

or a motion.    If defendant reconsiders his decision to represent

himself, he may file a motion asking the court to appoint him new

counsel.

     The government asked the court to direct that defendant’s

future pro se pleadings be written in Spanish.                    The government

argues that this would protect the court and defendant from the

influence of a jailhouse lawyer who appears to have authored

documents for defendant raising jurisdictional and “sovereign

citizen” sorts of defenses for what seems to be a quite commonplace

(although large) methamphetamine conspiracy charge. The government

reasons that defendant cannot understand English and, therefore,

does not know or understand the documents in English to which he

has signed his name.

     The   court   has   given   this       request   due   consideration       but

declines to grant it.     Although defendant uses an interpreter for

court proceedings and speaks Spanish in the courtroom, it is

possible that defendant understands English well enough to speak or

read some of it. Therefore, the court cannot conclude that he does

not understand or will not understand pleadings written in English.


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Moreover,    while   it   is   safe   to   assume   that    defendant     would

understand pleadings he wrote in Spanish, requiring him to draft

his pleadings in Spanish would make it more difficult for the court

to manage his pleadings and potentially deprive defendant of

legitimate assistance in defending his case.

     Nevertheless, defendant is cautioned once again that the court

believes its jurisdiction to proceed with this matter is clearly

established.    The court has already ruled on that question.                 Doc.

No. 118.    Defendant should not waste his time and the court’s time

with frivolous challenges relating to the jurisdiction of the

court.

     In the future, if defendant has motions he wishes to file with

the court, he should mail those motions to the Clerk of the Court

and send a copy to the prosecutor. The current deadline for filing

pretrial motions is October 21, 2011.

     The court shall permit Mr. John V. Wachtel to withdraw as

defendant’s attorney in this case.            The court shall appoint Mr.

Steve Schweiker, 7221 W. 79th St., Suite 106, Overland Park, Kansas

66204 to serve as defendant’s standby counsel.

     Finally, the court shall ask that defendant be moved from his

current holding facility to a holding facility closer to the

federal courthouse in Topeka, Kansas.          The court believes this may

be advantageous to efforts to allow defendant access to discovery

in this case.


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IT IS SO ORDERED.

Dated this 6th day of October, 2011 at Topeka, Kansas.

                             s/ RICHARD. D. ROGERS
                             United States District Judge




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